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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA
                                                  Criminal Action No.:
          versus                                  1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


         RESPONSE TO GOVERNMENT’S SUMMARY OF INDICTMENT

          COMES NOW, the Defendant, Chalmer Detling, II, and hereby objects to

certain language in the government’s proposed summary of indictment. The

proposed summary of the indictment includes in part, “The Defendant, Chalmer E.

Detling, II aka Chuck Detling, is a former personal injury attorney from Marietta,

Georgia charged with multiple counts of wire fraud and aggravated identity theft.”

(Doc. 111 at 1). Mr. Detling objects to this language indicating that he is no longer

an attorney. Mr. Detling previously moved this Court to exclude evidence of the

disciplinary bar proceeding(s) and the voluntary surrender of his law license. (Doc.

105). For all of the reasons stated within that motion, it would be improper for

evidence of Mr. Detling’s voluntary surrender of his law license to be admitted at

trial.

          Within the context of the criminal allegations in this case, the fact that Mr.

Detling no longer practices law could be highly prejudicial. It could easily lead a

juror to infer that the criminal allegations led to disciplinary action that prevents
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Mr. Detling from continuing to practice law. Additionally, Mr. Detling’s current

profession (or the fact that he no longer practices personal injury law) is not

necessary to provide the jury with a meaningful summary of the indictment. A

minor modification to the summary would remove the prejudicial word “former”

without removing any material information.

      For each of these reasons, Mr. Detling asks this Court to remove

government’s proposed language (quoted above) and replace it as follows: “The

Defendant, Chalmer E. Detling, II aka Chuck Detling, is charged with multiple

counts of wire fraud and aggravated identity theft. From 2012 to 2016, Mr.

Detling worked as a personal injury attorney in Marietta, Georgia.”

      Dated: This 24th day of August, 2021.

                                 Respectfully Submitted,

                                 /s/ Caitlyn Wade
                                 Caitlyn Wade
                                 Georgia Bar No. 259114

                                 s/ Suzanne Hashimi
                                 Suzanne Hashimi
                                 State Bar No. 335616

                                 Attorneys for Mr. Detling




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